Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 1 of 6 PageID #: 395
Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 2 of 6 PageID #: 396
Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 3 of 6 PageID #: 397
Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 4 of 6 PageID #: 398
Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 5 of 6 PageID #: 399
Case 5:14-cr-50048-TLB Document 80   Filed 04/02/15 Page 6 of 6 PageID #: 400
